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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

    UNITED STATES OF AMERICA §
                                                    § No. 6:22-CR-3
    v. § JUDGE JDK/JDL
                                                    §
    ELIZABETH RUTH SEYMOUR (13) §

                                          FACTUAL BASIS

           Investigation by the United States Department of Health and Human Services,

   Office of the Inspector General (HHS-OIG), the United States Department of Defense,

   Office of the Inspector General, Defense Criminal Investigative Service (DCIS), Texas

   Attorney General s Medicaid Fraud Control Unit (OAG-MFCU), and the Federal Bureau

   of Investigation (FBI) disclosed the following facts that establish that I, the defendant,

   Elizabeth Seymour, violated 18 U.S.C. § 371 (Conspiracy to Commit Illegal

   Remunerations). I accept the following factual basis as true and correct:

           1. From in or around July 1, 2015, and continuing thereafter until or about

   January 9, 2018, in the Eastern District of Texas, and elsewhere, I knowingly and

  willfully conspired and agreed with others to commit and abet certain offenses against the

  United States:

                       a. to violate the Anti-Kickback statute by knowingly and willfully

                           soliciting or receiving any remuneration, including any kickback,

                           directly or indirectly, overtly or covertly, in cash or in kind, in return

                           for referring beneficiaries for the furnishing or arranging for the

                           furnishing of any item or service or in return for ordering or

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                            recommending the ordering of any item or service for which

                            payment may be made in whole or in part under a Federal health

                            care program, in violation of 42 U.S.C. §§ 1320a-7b(b)(l)(A) and

                            1320a-7b(b)(l)(B); and

                       b. to violate the Anti-Kickback statute by knowingly and willfully

                            offering or paying remuneration, including any kickback, directly or

                            indirectly, overtly or covertly, in cash or in kind, to any person to

                           induce the referral of beneficiaries for the furnishing or arranging for

                           the furnishing of any item or service or to induce another person to

                           order or arrange for or recommend the ordering of any item or

                           service for which payment may be made in whole or in part under a

                           Federal health care program, in violation of 42 U.S.C. §§ 1320a-

                           7b(b)(2)(A) and 1320a-7b(b)(2)(B).

          2. I knew of the unlawful purpose of the agreement and joined in it willfully,

   that is, with the intent to further its unlawful purpose.

          3. It was the object of the conspiracy for the defendants and their co¬

   conspirators to unlawfully enrich themselves by paying and receiving kickbacks in

  exchange for the referral of and arranging for and ordering and recommending the

  ordering of health care business for which payment may be made in whole or in part

  under Federal health care programs, to conceal the kickback arrangement, and to use the

  kickbacks and the proceeds of the kickback arrangement for their personal benefit, as

  well as that of others.

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           4. One of the conspirators during the existence of the conspiracy knowingly

   committed at least one of the overt acts described in the indictment, in order to

   accomplish some object or purpose of the conspiracy.

           5. I agree to forfeit a sum of money equal to $274,314.95 in United States

   currency representing the amount of proceeds I obtained as a result of the offense.

           6. I acknowledge that these acts constitute a violation of 18 U.S.C. § 371

   (Conspiracy to Commit Illegal Remunerations).

   I hereby stipulate that the facts described above are true and correct and accept them s

   the uncontroverted facts of this case.


   Dated:                                   "     21'25
                                                     El izabeth S ymour
                                                     Defenda


                     Defendant s Counsel s Signature and Acknowledgment:

           I have read this Factual Basis and the Plea Agreement in this matter and have

   reviewed them with my client, Elizabeth Seymour. Based upon my discussions with my

   client, I am satisfied that she understands the terms and effects of the Factual Basis and

   the Plea Agreement and that she is signing this Factual Basis voluntarily.


   Dated:                                    ~          ;      •           -

                                                     John Hunter Smith
                                                  I Attorney for Defendant




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